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                                                        234n3B85@[BHnI[57385Y<9:5
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                           ;<=<<5>5?4@ABAC@
                               ;<=D<5>5?4@ABAC@65EF3B@GA4@57HB@I3IA69                                     JKLMJNJO
                               ;<=:<5>5?4@ABAC@565PA3CA5PQ3RQPQ@8                                           SJJNLT
                           UH@3P5;<=<<5>5?4@ABAC@                                                                JKVWVNST
                           ;<:<<5>5U3X3@QH45AXFA4CA
                               ;<:Y<5>5ZQ@[[HP\Q4I5@3X                                                    SKLJ]NVW
                               ;<:^<5>5?4@ABAC@534\5FA43P@QAC                                             MKJTMNT_
                           UH@3P5;<:<<5>5U3X3@QH45AXFA4CA                                                        ]KS_VNLT
                         UH@3P5;<<<<5>5̀HBFHB3@A                                                                      SSSKVWSNWJ
                         ;9<<<5>5U[A5a3B\A4C5EF3B@GA4@
                           ;9<995>5U[A5a3B\A4C565bAF3QB5c573Q4@d                                                     W]VNVV
                           ;9<9^5>5U[A5a3B\A4C565e@QPQ@QAC                                                           JJMN_J
                         UH@3P5;9<<<5>5U[A5a3B\A4C5EF3B@GA4@                                                               LKOLONST
                     UH@3P5fXFA4CA                                                                                       SSVKV]VNO]
               gA@5hB\Q43B85?4iHGA                                                                                      jLLSKTVWNTT
               h@[AB5?4iHGAkfXFA4CA
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                     D<9^<5>5h@[AB5?4iHGA                                                                                   JJONOO
                     DD<9<5>5lHBAQI45fXi[34IA5?k̀5mQ4HC3nBC                                                             jSTKLMWNJ]
                     DD<Y<5>5lHBAQI45fXi[d5I3Q4kPHCC                                                                   jLL_KWT]NVL
                     DD<^<5>5a3Q4koHCC5H45\QCFHC3P5Hp53CCA@C                                                           jM]OKMOTNOV
                   UH@3P5h@[AB5?4iHGA                                                                                  jWSTKJLLNWS
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